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                       EXHIBIT 2
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“I will stand for my client’s rights.
         I am a trial lawyer.”
    –Ron Motley (1944–2013)

            CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

            July 16, 2018

            VIA ELECTRONIC MAIL
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                       RE:        In Re National Prescription Opioid Litigation; Case No. 17-md-2804
                                  The County of Summit, Ohio, et al. v. Purdue Pharma L.P., et al.; Case No. 1-18-op-45090
                                  CMO No. 1 ¶ 9(I)(iii)

            Counsel:

            We are writing on behalf of the County of Summit and the City of Akron, Ohio pursuant to CMO
            No. 1 ¶ 9(l)(iii). CMO No. 1 ¶ 9(l)(iii) provides,

                       No later than, Monday, July 16, 2018, each Plaintiff in cases in Track One that
                       alleges money damages based upon unnecessary prescriptions shall identify: (a) the



                             MT. PLEASANT, SC | PROVIDENCE, RI | HARTFORD, CT | NEW YORK, NY | WASHINGTON, DC
                                  MORGANTOWN, WV | CHARLESTON, WV | NEW ORLEANS, LA | KANSAS CITY, MO
 Case: 1:17-md-02804-DAP Doc #: 1073-6 Filed: 11/01/18 3 of 3. PageID #: 26835




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Re: CMO No. 1 ¶ 9(I)(iii)
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        prescriptions that each Plaintiff asserts were medically unnecessary or medically
        inappropriate, to whom they were written, and whether Plaintiff reimbursed for them;
        (b) the physicians or healthcare providers who wrote the prescriptions; and (c)
        Plaintiff’s basis for identifying the prescriptions that it asserts are medically
        unnecessary or medically inappropriate.

        Id. (emphasis in the original).

The County of Summit and the City of Akron, Ohio are not seeking reimbursement for opioid
prescriptions paid based on the allegation that they were medically unnecessary or medically
inappropriate as cited in its Corrected Second Amended Complaint and Jury Demand, at Fn. 224.,
“Plaintiffs in this action do not assert any claim for spending on prescription opioids by their health
plans, workers compensation, or other programs.”

Therefore, CMO No. 1 ¶ 9(l)(iii) does not apply to the County of Summit and the City of Akron,
Ohio.

Sincerely,

/s/ Jodi Westbrook Flowers

Jodi Westbrook Flowers
